    JS44 (Rev. 04/21)
                                          Case 2:22-cv-00389-DCN  Document 1-1 Filed 09/12/22 Page 1 of 1
                                                             CIVIL COVER SHEET
    The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
    provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1 974, is required for the use of the Clerk of Court for the
    purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
    I. (a) PLAINTIFFS                                                                                                              DEFENDANTS                                                               ~
                Cody J. Schueler                                                                                                   Four SquareBiz, LLC; Keith Crews; Micah Eigler; John and
                                                                                                                                   Jane Does 1-10
       (b) County of Residence of First Listed Plaintiff                        Kootenai                                           County of Residence of First Listed Defendant                    State Of Georgia
                                        (EXCEPT IN U.S. PLAINTIFF CASES)                                                                                             (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                                  NOTE:       IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                              THE TRACT OF LAND INVOLVED.


       (c)     Attorneys (Firm Name, Address, and Telephone Number)                                                                Attorneys (IfKnown)

                Etter McMahon, 618 West Riverside Avenue, Suite 210,                                                               N/A

                Spokane, WA 99201, (509) 747-9100

    II. BASIS OF JURISDICTION (Piaa'.e an “X" in One Box Only)                                                        III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X" in OneBoxforPlaintifi
                                                                                                                               (For Diversity1 Cases Only)                                          and One Boxfor Defendant)

           U.S. Government                   |   |3     Federal Question                                                                                   PTF          DEF                                                 PTF       DEF

               Plaintiff                                  (U.S. Government Not a Party)                                  Citizen of This State             S i              1   Incorporated or Principal Place                   4      4
                                                                                                                                                                                   of Business In This State


|     12   U.S. Government                   |~x~| 4    Diversity                                                        Citizen of Another State                2     0 2      Incorporated and Principal Place                  5   05
               Defendant                                  (Indicate Citizenship ofParlies in Item III)                                                                             of Business In Another State


                                                                                                                         Citizen or Subject of a                 3         3    Foreign Nation                                    6
                                                                                                                           Foreign Country

    IV . NATURE OF SUIT fP/ace an "X‘‘ in One Box Only)                                                                                                      Click here for: Nature of Suit Code Descriptions.
                CONTRACT                                                       TORTS                                       FORFETTURE/PENALTY                            BANKRUPTCY                           OTHER STATUTES

       1 1 0 Insurance                           PERSONAL INJURY                          PERSONAL INJURY                  1 625 Drug Related Seizure                 422 Appeal 28 USC 158                 375 False Claims Act
       120 Marine
       130 Miller Act
                                                 310 Airplane
                                                 3 1 5 Airplane Product
                                                                                   |     | 365 Personal Injury -
                                                                                              Product Liability
                                                                                                                                 of Property 21 USC 881
                                                                                                                            690 Other
                                                                                                                                                                 3    423 Withdrawal
                                                                                                                                                                          28 USC 157
                                                                                                                                                                                                        3   376 Qui Tam (31 USC
                                                                                                                                                                                                                3729(a))

       140 Negotiable Instrument                       Liability                          367 Health Care/                                                              INTELLECTUAL                        400 State Re apportionment

       1 50 Recovery of Overpayment              320 Assault, Libel &                         Pharmaceutical                                                           PROPERTY RIGHTS                      410 Antitrust

             & Enforcement of Judgment                 Slander                                Personal Injury                                                         820 Copyrights                        430 Banks and Banking

       151 Medicare Act                          330 Federal Employers’                       Product Liability                                                       830 Patent
                                                                                                                                                                                                            450 Commerce

B      152 Recovery of Defaulted
             Student Loans
                                                       Liability
                                                 340 Marine
                                                                                   |     | 368 Asbestos Personal
                                                                                              -Injury Product
                                                                                                                                                                      835 Patent - Abbreviated
                                                                                                                                                                          New Drug Application
                                                                                                                                                                                                            460 Deportation
                                                                                                                                                                                                            470 Racketeer Influenced and
             (Excludes Veterans)
       153 Recovery of Overpayment
                                           3     345 Marine Product
                                                       Liability
                                                                                              Liability
                                                                                        PERSONAL PROPERTY                             LABOR
                                                                                                                                                                      840 Trademark
                                                                                                                                                                      880 Defend Trade Secrets
                                                                                                                                                                                                                Corrupt Organizations
                                                                                                                                                                                                            480 Consumer Credit
             of Veteran’s Benefits               350 Motor Vehicle                     ^ 370 Other Fraud                   1 7 1 0 Fair Labor Standards                                                         (15 USC 1681 or 1692)
                                                                                                                                                                          Act of 20 16
       160 Stockholders’ Suits
       190 Other Contract
                                           3     355 Motor Vehicle
                                                       Product Liability
                                                                                          371 Truth in Lending
                                                                                          380 Other Personal
                                                                                                                                Act
                                                                                                                            720 Labor/Management                       SOCIAL SECURITY
                                                                                                                                                                                                            485 Telephone Consumer
                                                                                                                                                                                                                Protection Act

       195 Contract Product Liability            360 Other Personal                           Property Damage                    Relations                            861 HI A (1395fl)                     490 Cable/Sat TV
       1 96 Franchise                                  Injury
                                                 362 Personal Injury -
                                                                                   |     | 385 Property Damage
                                                                                              Product Liability
                                                                                                                            740 Railway Labor Act
                                                                                                                            751 Family and Medical
                                                                                                                                                                      862 Black Lung (923)
                                                                                                                                                                      863 DIWC/DIWW (405(g)) F
                                                                                                                                                                                                        3   850 Sccuritics/Commoditics/
                                                                                                                                                                                                                Exchange
                                                       Medical Malpractice                                                       Leave Act                            864 SSID Title XVI                    890 Other Statutory Actions

             REAL PROPERTY                         CIVIL RIGHTS                ~        PRISONER PETITIONS                  790 Other Labor Litigation                865 RSI (405(g))                      891 Agricultural Acts

      210 Land Condemnation                      440 Other Civil Rights                   Habeas Corpus:                    791 Employee Retirement                                                         893 Environmental Matters

       220 Foreclosure                      _ 441 Voting                               2] 463 Alien Detainee                    Income Security Act                   FEDERAL TAX SUITS                     895 Freedom of Information

       230 Rent Lease & Ejectment                442 Employment                           510 Motions to Vacate                                                       870 Taxes (U.S. Plaintiff                 Act

       240 Torts to Land                         443 Housing/                                 Sentence                                                                    or Defendant)                     896 Arbitration

      245 Tort Product Liability                       Accommodations                     530 General
                                                                                          535 Death Penalty
                                                                                                                                                                      871 IRS—Third Party
                                                                                                                                                                           26 USC 7609
                                                                                                                                                                                                        3   899 Administrative Procedure
                                                                                                                                                                                                                Act/Review or Appeal of
      290 All Other Real Property                445 Amer. w/Disabilitics -                                                     IMMIGRATION
                                                       Employment                         Other:                           1462 Naturalization Application                                                      Agency Decision
                                                 446 Amer. w/Disabilities -               540 Mandamus & Other             1 465 Other Immigration                                                          950 Constitutionality of
                                                       Other                           _ 550 Civil Rights                       Actions                                                                         State Statutes
                                                 448 Education                            555 Prison Condition
                                                                                          560 Civil Detainee -
                                                                                              Conditions of
                                                                                              Confinement

                        '
    V. ORIGIN (Place an "X” in One Box Only)
V] 1       Original           |   |2:   Removed from                            Remanded from                     |   |4 Reinstated or             5 Transferred from              6 Multidistrict                    8 Multidistrict
                                                                           3    Appellate Court                          Reopened                    Another District                    Litigation -                   Litigation -
           Proceeding                   State Court
                                                                                                                                                     (specify)                           Transfer                       Direct File

                                                  Cite the U.S. Civil Statute under which you are filing (Do not citejurisdictional statutes unless diversity):
                                                   Diversity Jurisdiction (28 U.S.C. 1332)
    VI. CAUSE OF ACTION
                                                  Brief description of cause:
                                                  Breach of Contract, Breach of Guarantees, Fraud, and Civil Conspriacy

    VII. REQUESTED IN                                    CHECK IF THIS IS A CLASS ACTION                                    DEMAND $                                        CHECK YES only if demanded in complaint:

             COMPLAINT:                                  UNDER RULE 23, F.R.Cv.P.                                           Excess of $75,000                               JURY DEMAND:                     HYes           UNo

    VIII. RELATED CASE(S)
                                                       (See instructions):
              IF ANY                                                                   JUDGE                                                                          DOCKET NUMBER

    DATE                                                                                  SIGNATURE OF ATTORNEY OF RECORD

    September 12, 2022                                                                    /s/ Andrew M. Wagley

    FOR OFFICE USE ONLY

      RECEIPT #                         AMOUNT                                                APPLYING IFP                                         JUDGE                                  MAG. JUDGE
